          Case 1:20-cv-07654-PAE Document 9 Filed 10/16/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re 60 91st Street Corp.

 KIM MORTIMER,                                                           20 Civ. 7654 (PAE)

                                       Appellant,                              ORDER
                        -v-

 HEIDI J. SORVINO, as Chapter 11 Trustee for 60 91st Street
 Corp.,

                                       Appellee.


PAUL A. ENGELMAYER, District Judge:

        On October 12, 2020, appellee Heidi J. Sorvino, as chapter 11 trustee for 60 91st Street

Corp. (“Trustee”), filed a motion to dismiss appellant Kim Mortimer’s appeal. Dkt. 8. The

Court adopts the following briefing schedule for the motion to dismiss:

           •   Ms. Mortimer’s opposition is due October 30, 2020;

           •   Trustee’s reply is due November 6, 2020.

        To the extent Ms. Mortimer requires assistance with this task or otherwise in representing

herself pro se, Ms. Mortimer is advised to contact the pro se office of this Court, at (212) 805-

0175.

        The Clerk of Court is respectfully directed to mail a copy of this order to Ms. Mortimer at

the address on file. The Court has also emailed a copy of this order to Ms. Mortimer.
        Case 1:20-cv-07654-PAE Document 9 Filed 10/16/20 Page 2 of 2




      SO ORDERED.


                                               PaJA.�
                                              ______________________________
                                              PAUL A. ENGELMAYER
                                              United States District Judge
Dated: October 16, 2020
       New York, New York




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